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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Criminal Case No. 21-582 (CRC)
                                             :
MICHAEL A. SUSSMANN,                         :
                                             :
       Defendant.                            :

                 PROTECTIVE ORDER PURSTANT TO SECTION 4
          OF THE CLASSIFIED INFORMATION PROCEDURES ACT AND
        RULE 16(d)(1) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

       This action is before the Court on the Government’s ex parte, in camera application for a

protective order pursuant to Section 4 of the Classified Information Procedures Act, 18 U.S.C.

App. III (“CIPA”), and Rule 16(d)(1) of the Federal Rules of Criminal Procedure seeking to

withhold from discovery certain classified information (“the Classified Information”), filed on

March 25, 2022 (“the application”). After ex parte, in camera inspection and consideration of the

application and the accompanying exhibits, the Court finds, pursuant to Section 4 of CIPA and

Rule 16(d)(1), that the Government’s application contains classified information that requires

protection against unauthorized disclosure for reasons of national security. Specifically, the Court

finds that disclosure of the Classified Information to the defense (with two exceptions noted

below), or to the public, reasonably could be expected to cause serious damage to the national

security.

       The First Amendment right of access to court documents may be curtailed in favor of a

compelling government interest provided that the limitation on access is “narrowly tailored to

serve that interest.” Globe Newspaper Co. v. Superior Ct., 457 U.S. 596, 606-07 (1982); see also

Press-Enterprise Co. v. Superior Ct., 464 U.S. 501, 510 (1984) (“The presumption of openness



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may be overcome only by an overriding interest based on findings that closure is essential to

preserve higher values and is narrowly tailored to serve that interest.”); Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 598 (1978) (common law right of access may be outweighed by an

important competing interest). Here, the Court finds that the Government’s interest in protecting

the national security and preventing the unnecessary dissemination of classified information

outweighs the defendant’s and/or public’s right of access to these materials. See Haig v. Agee,

453 U.S. 280, 307 (1981) (“[N]o governmental interest is more compelling than the security of

the Nation.”); Snepp v. United States, 444 U.S. 507, 509 n.3 (1980) (“The Government has a

compelling interest in protecting both the secrecy of information important to our national

security and the appearance of confidentiality so essential to the effective operation of our foreign

intelligence service.”).

       WHEREAS the Government, in its motion and application, seeks a protective order

against disclosure of certain classified information to the defense because that information is not

discoverable under applicable law or is not helpful or material to the defense;

       WHEREAS the Court finds that disclosure of the motion or accompanying materials to the

defense or the public would defeat the Government’s purpose in seeking a protective order;

       WHEREAS the Court further finds that the Government’s application is so interrelated

with classified information as to make impracticable the filing of meaningful redacted Classified

Information that do not divulge classified information, and that no reasonable alternative to

closure and sealing exists that will protect the Government’s interest in preventing the

unauthorized dissemination of this information;

       WHEREAS this sealing order is drawn as narrowly as possible under the circumstances;




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       WHEREAS the Court has determined (with two exceptions noted below) that the

Classified Information to be withheld are not “helpful or material to the defense,” see Roviaro v.

United States, 353 U.S. 53, 60-62 (1957);

       WHEREAS the Court finds that the Classified Information sought to be excluded from

discovery is not discoverable under Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United

States, 405 U.S. 150 (1972), and their progeny, or Federal Rule of Criminal Procedure 16; and

       WHEREAS the Court finds that two of the Government’s proposed substitutions of

certain Classified Information do not adequately inform the defense of information that arguably

may be helpful or material to the defense, in satisfaction of the Government’s discovery

obligations; it is hereby

       ORDERED that the Government’s application for a protective order to withhold certain

Classified Information from discovery is granted in part and denied in part; and

       IT IS FURTHER ORDERED that the Government is directed, as explained at the ex parte

hearing, to disclose to cleared defense counsel either the underlying classified material or a

classified summary of the material from which the two proposed summaries were derived.

       IT IS FURTHER ORDERED that the Government’s request to file its application ex

parte, in camera, and under seal is granted because disclosure of the contents of the application to

the defendant or the public would compromise the Government’s compelling interest in

protecting national security and would defeat the purpose of the protective order. See Dep’t of

Navy v. Egan, 484 U.S. 518, 527 (1988).

SO ORDERED.


                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge
Date: April 26, 2022

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